remit

IN THE UNITED STATES DISTRICT COURT

FOR THE M]])DLE DISTRICT OF TENNESSEE 2|]|2 JUN -`] PH h: 53

 

 

 

 

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501-lp \/\l§\&o v\ Dr\ we
nli\ Sul)reé`§. mt 371 am
Name of Plaintiff .
Case No. J~'
v. CT 0 be assigned by Clerk)

D`JF€C/i“ GQr\C/*dj :|`:¢/LS. Q,@
wm n/\u&w)@@r@ lian
NLOSi/\ufl(¢' wm 371:12.

Name of Defe/ndant(s)

 

Jury Demand n Yes UNo _

V\/V\-/\-/VV \./\/\»/\/\/VV`./

COMPLAINT UNDER TITLE V]I OF THE CIV]L RIGHTS ACT OF 1964

This action is brought pursuant to Title VII of the Civil Rights Act of 1964, and the Civil
Rights Act of 1991, for employment discrimination Jurisdiction is specifically conferred
upon the Court by 42 U.S.C. § 2000e-5, or, if the Plaintiff is a federal employee, by 42
U.S.C. § 20006-16. Relief is sought under 42 U.S.C. § 2000e-5(g) and/or 42 U.S.C. §
l981a(b).

Plaintiff, /`q i O{' l ct §E’/S 0“':\) , is a citizen of the United States and resides at

 

 

50,+ |A\i`SOV\ 'U{"\.\/'€/ , J‘\“\Dun`i' julii€,i\" ,
Street address City

l/\lilg@v\ ,'TN ,'z‘mz ,Uwy CiL»S-L>SW
County State Zip Code Telephone Number

Defendant, D}l`€@,ri`“ C'l €)'\@J?’-i> M . Q) resides at, or its business is located at

 

 

 

mm muhpm§t@m twa ,Alastv:)\t_ ,
Street address City

®MI'OLS@Y\ ,")\\1 » 371/7

County State Zip Code

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(lf more than one Defendant, list the name and address of each additional Defendant)

 

 

 

 

 

Plaintiff sought employment from the Defendant or Was employed by the Defendant at

/Q$v?\| Mur~?`ee§éoro fagan/0 , 1 ashe/file ,

 

 

Street address City
(Dau.‘¢ts@v\ W ,3`/:21.
County State Zip Code

Defendant discriminated against Plain iff in t_he manner indicated in paragraphs 8 and 9 of
this Cornplaint on or about (` \ _i 'Q\.O ic 110 l 0
Month Day Year

Plaintiff liled charges against the Defendant With the Tennessee Human Rights Commission
or the Equal Employment Opportunity Commission charging the Defendant With the acts of
discrimination indicated in para phs 8 and 9 of this Complaint on or about

9 ?r\` \ 9 0 ','2@) 0
Month Day Year

The Equal Employment Opportunity Comrnission or the United States Departme t of J ustice
issued a Notice of Right to Sue Which Was received by Plaintift` on 3 l R 3 2 RO l 2
` 7 Mon

2 0 l 2 , a copy of Which Notice is attached.

Day Year
Because of Plaintist (l) \\/d race, (2) \/ color, (3) l/ seX,
(4) religion, (5) |/_'“` national origin, the Defendant:

Case 3:12-cV-00585 Document 1 Filed 06/07/12 Page 2 of 54 Page|D #: 65

a. failed to employ Plaintiff.
b. - \/ terminated Plaintiff’ s employment
c. \/ failed to promote Plaintiff.
d. \/ retaliated against Plaintiff for having filed a charge of discrimination
e, §§ n other. Explain: QE\JC/ canal cit`$c\lo`= ii )\\9\) Y_Il`"
[/' ll \`)

 

 

 

9. The circumstances under Which Defendant discriminated against Plaintiff Were as folloWS:

}/tl€»\m~¥'e m\ S:v\/\L-v”r liar /\’l-\ Mol'@¢e/'j (_`cwe bac£/

bOoiv`\¢\ LDOQ loe/mea \Q”)\-QE/\n/) ~/QNO¢M me-

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'€cu,ol@¢)._¢~,e \/w)ilme /, blo@;P pressure dean u®’\/\ high /U°'@"
4‘,@\@ MK @J C¢LQ,(?@@Q lich S"cl`a cba /7‘-//?/?/010 1003 (€4'~
C©© 00\ L~,F/ZO/'Z@i€> t@c>rl”~ U.DO® indem `_l>;» "i'(;°,c»~ml@{l‘i'm\`/~@J

tmi/3 h N:L @U@~ia ~/\/
(You may use addiiional paper, if necessary.)

 

10. The acts set forth in paragraph 8 of this Complaint:
a. are still being committed by Defendant.
b. are no longer being committed by Defendant.

c. j 4 may still be being committed by Defendant.

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ll.

Plaintiff attaches to this Complaint a copy of the charges filed With the Tennessee I-Iuman
Rights Commission or the Equal Employment Opportunity Commission, Which charges are
submitted as a brief statement of the facts supporting this Complaint.
WI~]EREFORE, Plaintiff prays that the Court grant the following relief:

a. direct that Defendant employ Plaintiff, or

b. \/ direct that Defendant re-employ Plaintif`f, or

c. §§ _ direct that Defendant promote Plaintiff, or

d. -,[ order other equitable or injunctive relief:

 

e. i;’ direct that Defendant pay Plaintiff back pay in the amount of

and interest on back pay;

 

f`. §§ direct that Defendant pay Plaintiff compensatory damages: Specify

the amount and basis for compensatory damages:

 

 

g. if direct that Defendant pay Plaintiff punitive damages in the amount of

 

because Defendant engaged in a discriminatory practice or
practices With malice or With reckless indifference to Plaintiff’ s federally protected rights,
as described in paragraphs 8 and 9 above; and that the Court grant such other relief as may

be appropriate, including costs and attorney"S fees.

 

935 C`9>"~’\
(signamre Of Plainaa)\j

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EEOC Form 5 (11/09)

 

 

 

 

 

 

 

 

d CHARGE OF D|SCR|M|NAT|ON ' Charge Pre$enfed TO= Agency(ie$) Charge NO(S)1
Thrs form rs affected by the Privacy Acr 011914. see enclosedvprivacy Acz |:| FEPA '
Statement and other information before completing this form.
. - EEoc 494-21110-01401
Tennessee Human Rights Commission ` and EEOC
State or local Agency, if any '

Name (indr‘cate Mr., Ms., Mrs.) Home Phone (Incl. Area Code) Date of Birth
Ms. G|oria A. Sesay v - _ (61 5) 574¢9771 `
street Add`re_ss city. stare and er code

504 Wilson Drive, Mount Juliet, TN 37122

 

Named rs the Employer, Labor Organization, Employment Agency. Apprenticeship Committee, or St_ate or Loca| Govemment Agency That l Believe
Discriminated Against Me or Others. (lf more than two, list under PARTICULARS below.)

 

 

 

 

Name § No. Employees. Mei`rbers Phone No. (Include Area Code)
DlREC_T GENERAL lNSURANCE AGENCY 101 - 200 (615) 399-4090
Street Address _ City. State and ZIP Code

1281 Murféesboro Road, Nashville, TN 37217

\

 

Name , ' No. E_mployees. Merrbers Phone No. (Include Area Code)

 

 

 

 

Street Address City. State and ZlP_ Code
DlSCR|M|NAT|ON BASED ON (Check appropriate box(es).) ' DATE(S) D|SCR|M|NAT|ON TOOK PLACE
` Earliest Latest

- RAcE |:| coLoR |::| sex [:| REL\GloN |:| NAnoNAL oRlerN 10-01-2009 04-20-2010

- RETAL|AT|ON [: AGE [] DiSAB|L|TY [] GENET|C|NFORMAT|ON

oTHER(specrry) ' _ |:| connNulNG AcTroN

 

 

THE PARTlCULARS ARE (If additional paper is needed, attach extra sheet(s)): v
l am an African American, national origin (Sierra Leone) who was hired by the above-named employer on
September 27, 2005, as a Treasury Assistant_. »The company employs more that fifteen employees.

On or about October 2009, l complained to Kim Jones about her unlawful discriminatory practices against
me, and the discriminatory actions did notstop. l filed several more complaints with Linda Young and Velda
Krancer human resources against My supervisor Ms. Jones. But no actions were taken to stop the
discriminatory actions; Ms. Jones continued to discriminate against me, l was excluded from receiving,
notifications of meetings, l was made to be seated separately from my similar situated team members, my
work was being assigned to a newly hired white female, and all of the similar situated employees received
pay increases, but l did not. On Apri| 16, 2010, l complarned to Todd Hagely (V. P. ) about l\_/|s. Jones
continuing to discriminating against me, he said he would meet with me to discuss the problem, but he failed
to meet with me, so lf1|ed my fourth complaint using the hotline number provided to me. April 20, 2010, l
was informed by Ms. Jones that l was terminated

I believe that l am being discriminated against because of, my race (African American) and national origin
(Sierra Leone) l believe that l am being retaliated against for opposing unlawful employment practices and
for filing a charge of discrimination, in violation of Tit|e VlI of the CiviIRights Act of 1964, as amended.

 

l want this charge filed with both the EEOC and the State or local Agenoy. if any. l NOTARY -' When necessary for Sfa¢€ and LO¢al Agen¢y Requl'f€m€"l$
will advise the agencies if l change my address or phone number and lwill .
cooperate fully with them m the processing of my charge' rn accordance with their

 

procedures l swear or affirm that l have read the above charge and that it is true to

 

 

l declare under penalty of perjury that the above` rs true and oorrect. tl'\e_best of my knowled_g`e, information and belief.
v SlGNATURE OF COMPLA|NANT

 

SUBSCRIBED AND SWORN TO BEFORE ME THlS DATE '
TL 0 'O t dd>_"\ (month, day, year)

' Case 3:12-0-\/- 1565 Document 1 Filed 06/07/12 Page 5 of 54 Page|D #: 66

 

 

 

EEQ¢ pm 161 (11,09, U.S. ,EouAi_ EMPLoYMENT OPPoRTuNlTY CoMMlssroN

 

D1smrssALaND NoTrcE oF RleHTs

 

TOf Gloria A. Sesay FrOmf Nash_ville Area Office
504 Wilson Drive 220 Athens Way
Mount Juliet, TN 37122 Suife 350

Nashville, TN 37228

 

m On behalf of person(s) aggrieved whose identity is
coNF/DENT/AL (29 cFR §1601.7(3)) _
EEOC Charge No. EEOC Representative Telephone No.
Deborah K. Wa|ker, -
494-2010-01401 supervisory rnvestigator (615) 736-2109

 

THE EEO.C lS CLOS|NG ITS FlLE ON TH|S CHARGE FOR THE FOLLOW|NG REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

' Your allegations did not involve a disability as defined by the Americans Wrth Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to tile your charge

E[l[l[l[l

The EEOC issues the following detennination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

-The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

Other (briefly state)

UE

- NoTlcE oF surT`RleHTs -

(See the additional information attached to this fon'n.)

Title Vll, the Americans with Disabi|ities Act, the Genetic lnformation Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that We will send you. -
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WlTHlN 90 DAYS of your receipt of this notice`; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment This means that backpay due for any violations that occurred more than 2 years (3 veB)

before you file suit may not be collectible.
behalf Ofihe iSSi? " MAR 2 3 2012
z '/'

Enclosures(s) b F Sarah L_ Smith, (Dafe Mailed)
Area Office Director

cc: . _ __ 7 ,_ _ -

Jon Dowell, Senior Counsel Ma|:k ADBa“Igh C t 7

-D1REcT.GENERAL rnsuRANcE:AeENcY - -. - -Ba er °"e S°" e" er ~ - . 1

' Suite 800
1281 Murfeesboro Road
Nashvine TN 37217 211 Co'mmerce Street'

Nahsvi|le, `TN 37201

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' enclosure with EEOC

Ferm 1151 (11109)
lNFoRMATloN RELATED To Fll_lNG SulT

UNDER THE LAws ENFoRch B'Y THE EEOC

(This information relates to filing suit in Federal or State court Lder____Fede_r§Qv_v.
lf you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described beiow,)

Tit|e Vll of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimin'ation in Employment Act (ADEA):

PRlvA'rE Sulr RleHrs

|n order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. lf you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the pcstmark, if later_ . . . - -*

Your lawsuit may be filed in U.S. District Court or a State court of competentjurisdiction. (Usua|ly, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. |f you have simple questions, you usually can get answers from the
oche of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint or
make legal strategy decisions for you.

PR|VATE S:.UlT RIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged `EPA underpayment: back
pay due for violations that occurred more than 2 years 13 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 - not 12/1/10 - in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title Vll, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title Vll, the ADAl GlNA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice B within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTAT|ON _-- Title Vll, the ADA O_l' GINA£

ff you cannot afford or have been unable to obtain a lawyer to represent youl the U.S. District Court having jurisdiction
in your case may, in limited circumstancesl assist you in obtaining a |awyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do n_ot relieve you of the requirement to bring suit within 90 days

ATTORNE¥ REFERRAL AND EEOC ASS|ST-ANCE -- Ail StanteSf

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. lf you need to
inspect or obtain a copy of information in EEO-C's file on the charge please request it promptly in writing and provide
your charge number (as Shown on your NDtiCe). Whlle EEOC destroys Ghal'ge files affo 6 G€ftaltl tlm€. all Chal'g€ files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

IF VOU FlLE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THfS OFFICE.

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HW

" |\leuro|ogical
t |nstitute, LLc

\

2011 Church Street, Suite 505,
Nashville, Tl\l 37203

office (615) 320-0007 o tax (615) 320-0009
wwvv.l-lV\/neuro.com

 

Thursday, l\/lay 03, 2012
Patient Name: Gloria Sesay

This letter is to provide you with information that Wi|l make your trip to the hospital
as easy as possible

Ro_bert A. l\/lericle, l\/lD

Boarcl Certified

Neurovascular Expertise

Fellowship Trained

Board Certified

@V\e. ltO \¢\ol¢i air

Your Pre-Admissions Testing Appointment has been scheduled for:

5/10/12 at 10:OOam

Preadmissions Testing is Located on the lst F|oor of the Baptist Hospita|
2000 Church Street, Nashville, TN 37236

 

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Arthuri.ulm,ivio ,t\?'i<\\:::ui\i£h`§ W~m_,,O/\z,@n, Clo\t_e,r~ M}C)

Neurovascular Expertise

Fellowship `l'rained

Brain Aneurysms
& Vascular

Malformations

Brain Tumors
& Genera|

Neurosurgery

Trigemina| Neura|gia

& Hemifacia| Spasm

Spina| Disease
& Periphera| Nerve

Dlsease

Neurovascu|ar
Disease 81 Strol<e '

Prevention

Your surgery has been scheduled for :

\\_ 5/15/12 at 8:30am Arrive for surgery at 6:30am

The day of your surgery please report to the Baptist Hospita| Admitting Office
Located on the lst Floor of the Baptist Hospita|
2000 Church Street, Nashville, TN 37236

Your Post-Operative appointment has been scheduled for :

6/7/12 at 1:00pm with Dr.|\/lericle
HW Neuro|ogica| |nstitute, LLC
Located on the Sth Flo'or ofthe Baptist P|aza 1 Building
2011 Church Street, Suite 505

Nashville, TN
37203

P|ease do not eat or drink anything after midnight the evening before your surgery or
the morning of your surgery. |f you need to take a specific medication(s) that
_morning, drinl<just enough water (a sip) to swallow your medicine. Also, if you are
coming in from outside of Nashville and will be staying at a hotel, with 'fami|y, etc.,
please contact me with numbers Where you can be reached in case of an emergency
that could possibly alter the time of your appointment/surgery

lf you have any questions or need additional information regarding your
appointments/surgery, or if l can be of any further assistance, please do not hesitate
to call me at (615) 320-0007 between 8:OOam and 4:OOpm CST.

Sincerely,

Kelly Dul<e,
Patient Coordinator

.'lv'leri¢:ie@ii‘iv’rieuro.<:um v 'J.lrn@H_i,'"lnsuro.r.'c-rn ¢` arrals@l’l`v\/

 

B“ptist. Hespifcai

A Member~af Sain`l. `l'l'iq,mds.l~leailfh Sérvil;cs
Date: 05/18/12

Gloria Sesay
504 Wilson Dr
Mt Juliet TN 37122

Re: Gloria

DOB: 12/24/ 1963

SS# XXX-XX- 1735

Date of Scrvice: pre-qualify surgery With Dr Mericle, MD

Baptist Hospital has approved the above-mentioned patient for financial assistance for
100% for the above mentioned service only. Plcase keep a copy of this letter for your

records

If you have any questions, please do not hesitate to contact any of our Financial
Assistance Team associates

Tonya P, Patient Accounting Specialist

, 615-222-7758

Kevin Bruce, Team Leader
615-222-7765

C:\Users\Guestl\AppData\Local\Microsoft\WindoWs\Temporary Internet
Files\Content.IES\F4XHUL24\sesay%20_gloria_pre-qualify[l].docx

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Gloria Sesay Re: Claimant: Gloria A. Sesay

504 Wilson Drive SSN: XXX-XX-l735

Mount Juliet, TN 37122 Appeals Tribal Docket No. lO-l 1785AA

September 6, 2011 Tennessee Department of Labor and
Workforce Devblopment

The Wilson County Chancery Clerk and Master's Office
Commissioner of the Department of Labor

Tennessee Department of Labor and Workforce Development
134 South College Street

Lebanon, TN 37087

Petition for Judicial review of the Final Decision of the Tennessee
Department of Labor and workforce Development

Dear Chancellor / Commissioner:

Thank you very much for granting my request for filling the petition for judicial review
on my case reference number 10-11785AA between my former employer Direct General
Insurance Company, located at 1281 Murfreesboro Road, Nashville, Tennessee, 37217
Where I Was employed from September 27, 2004 through April 20, 2010. My
employment Was terminated abruptly due to retaliation that I,,_had launched a complaint
Friday April 16, 2010 using the employee hotline 1-800-398;?:-'1496 referencing case no.
3141785. Due to the intense stress on the job, I had developed high blood pressure, and
Was ill over the weekend and called in sick on Monday April 19, 2010 were-in I left Ms
Kimberly J ones my supervisor a voice message stating that l Was ill and Was taking a sick
day. As always on her part, Ms J ones would never return my call.

Upon my return on Tuesday April 20, 2010, Ms Jones came to my desk and asked if l can
meet With her and HR. In this meeting, in the presence of Velda Krancer the director of
human resources and a new employee by the name of Burley Nielson, l was offered a
severance package In the severance, I was given 21 days to review and return. I Was
escorted out of the building by Velda whilst Burley went to get my purse as I Waited in
the lobby. Due to the nature of my illness and that I Was having car trouble, I called my
daughter Maria Sesay to come and pick me up as l Waited outside. We then Went to the
EEOC (Equal Employment Opportunity Commission) office and filed a complaint Mr.
J ames Foster the private investigator that I met With, advised me to till EEOC form 5
(11/09), With charge or discrimination These charges are based on retaliation, national
origin, race and age. (Please see attachment)

Upon Direct General receipt of my complaint from the EEOC, another form of retaliation
occurred as I received a letter of termination issued on April 30, 2010 signed by Kristi
Huffman not even Waiting 0n the 21 days I was offered. My,;..belongings Were shipped to
me via Fed-Ex With the exception of my car keys, check book and Some personal notes
and documents relating to issue at hand.

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[Recipient Name]
September 6, 2011
Page 2

Ifl was a disobedient employee, why Was I offered a severance? Why did they dispute
my initial complaint upon filing for unemployment stating that I was not let go but left
Work sick based on Velda's initial representation on the phone hearing with the
Department of Labor. I have been having so much problem with Ms J ones Where-in I had
taken it to the President, Vice President and human resources but nothing was done. I
received nothing but threats such as, " the company needs me more than they need you, I
have more seniority in terms of position and length of employment, Why don't you go
back to Africa, l Will never promote you, give you a raise or recommend you for a job
and so on. l had a boss that was a bully and used coercive power. Direct General
Insurance is claiming that they are not aware of my health issues, l had short term
disability when l had an heart attack on the job and Was rushed to Southern Hills
Medical, they are claiming l did not apply for FMLA, l did liave one on file for the year
2010, based on their benefits department, I only needed to have one on file per employee
as I had applied for one in January before I left for California to go care for my mom Who
Was diagnosed With cancer. Their benefits director Anita Clark was out as I checked With
her upon my return as to Why I was not paid for the time I was gone as I have enough
PTO (paid time off) based on my length of employment with the company, she confirmed
that Ms Kimberly J ones my supervisor, did not completed or turn in my paper work and
that Was aware of my intention to go care for my mother and Would check with her as to
the reason for my paper Work not to be turned in. I then noted to her, that since my return
from FMLA, passWords to my PC Were being Withheld from me and Was unable to
complete my daily Work.

After my termination of employment, not only Was I denied unemployment benefits, I
Was not offered cobra, myself esteem was lowered, I was humiliated, I am about to lose
my horne of 1 lyrs, a daughter l could not send to college but with the assistance of State,
Church and friends. My credit has gone extremely bad, I have lost my vehicle, l have no
form of transportation as of today, no source of income as l have been leaving of my
daughter's child support which has ended as of this month and is about to be homeless
with no family here to assist my. Everything I have worked for since I came to the United
States 27yrs ago has been taken away from me, I cannot even afford to pay my student
loan Which is incurring interest as I asked for a deferment

l am requesting a compensation for all these issues, including back pay With interest,
mental and emotional abuse, unequal pay (disparte impact), disparte treatment, isolation
from other employees, asked to produce papers to show proof of legal employment, even
though I did at time of employment and all legal and court cost pertaining to this filling
as the court deemed it fit.

Sincerely,

Gloria A. Sesay

  
 

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[Recipient Name]
September 6, 2011
Page 3

CC: Direct General Insurance Company

[Your Name]
[Title]

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Claimant 10B3764BA Employer

Gloria Sesay Direct General Insurance
504 Wilson Drive

Mount Juliet, TN 37122

February 10, 2011

Tennessee Department of Labor and Workforce Development
Attn. Ms Murble Gardner

Employment Security Division

220 French Landing Drive

Nashville, TN 37243-1002

Tel: (615) 253-0915

Fax: (615) 253-7539

Dear Ms Gardner:

Thank you very much for contacting me last Tuesday February 1, 2011. Ai°cer thoughtful
consideration regarding your request for a written explanation as to what transpired
between my former employer Direct General Insurance Company and I, 1 am asking for a
one on one interview with you based on everything that has transpired since my filling
for Unemployment Benefits last April 20, 2010.

On April 20“‘, 2010 1 attended a meeting with Kim Jones, Velda Krancer, and Burley
Nielson. I was given a severance letter showing date of separation (4/20/10) and general
release. This letter was offering me a severance package of Two Thousand Three
Hundred Seventy Six Dollars and 00/100 ($2,3 76.00) less applicable taxes and
withholdings with twenty~one days to review and return the letter signed to Direct. lt
would then be an additional 15 days before I could expect to receive these funds. My
Direct lD card that allows entrance into the building was taken nom me at this same
time. Then Burley went to my work area on the fourth floor, picked up my purse, and
brought it to me. He did not get my car keys, debit card and check book which remained
behind in my cubicle. l Was then escorted from the building by Velda.

On Saturday, April 24th, 2010 l received two boxes via FedEx from Direct General
Insurance, my former employer. The package contained pictures and other miscellaneous
personal items that were in my cubicle. I have a receipt from the shipment

l was given 2] days to review and return the severance letter. Before l could utilize this
time Direct General Insurance on April 30“1, 2010 wrote a termination letter to- the TN ,
Dept of Labor and Workforce stating I was terminated due to lack of attendance. Direct
did send a copy of this letter to me. I received this letter on May 4th’ the postmark on this
letter is dated May 3"1, while the letter inside is dated April 30“1, 2010.

As recent as lang 14th 2011, l have resubmitted all the evidences l received from
Direct General lnsurance.

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'CoNFn)ENTlAL sEPARATloN AGREEMENT AND _GENERAL RELEASE .

 

This Confidential Separation Agreement and General Release (“Agreement’i) is by and between
Gloria Sesay (“Employee”) and Direct Administration, lnc. (“Direct”). t

A. Employee was employed by Direct from September 27, 2004 until April 20, 2010 at

l which time his/her employment was terminated

B. Though it has no obligation to do so, Direct desires to provide certain severance benefits
to Employee in consideration of a final and complete resolution, l`\')vith prejudice, of any and all
matters between them relating to Employee’s employment With Direct, the terms and conditions
of that employment and the termination of that employment

NOW, THEREFORE, the parties, in consideration of the above and the agreements and
covenants herein, agree as follows:

1. - Payment. As consideration for Employee’s execution of this Agreement, Direct shall
pay Employee an amount equal to Two Thousand Three Hundred Seventy Six Dollars and
00/100 ($2,376.00) (“Amount”) less applicable taxes and withholdings required by law, an
amount to which Employee agrees he/she would not otherwise be entitle¢ -to be paid by check
payable to “Gloria Sesay” within Efteen (15) days after Direct’s receipt of an executed copy of
this Agreement Direct will issue Employee an IRS Form W-2 for the Amount. Employee
expressly understands and agrees that (i) Direct shall not be»requjred to make any further
payment, for any reason whatsoever, to his/her or on' his/her behalf regarding any claim or right
whatsoever which might possibly be asserted by himfher, and (ii) Direct, by entering into this
Agreement, in no way admits that it treated him/her unlawfully or unfairly in any way Employee
acknowledges that this Agreement ls not an admission of liability or fault by Direct, by whom
liability and fault are expressly denied.

2. Release. ln consideration of the Payment in Section 1 and other good and valuable
consideration, the receipt and sufficiency of which Employee hereby acknowledges, Employee
releases and forever discharges Direct, its aHiliates, and their members, officers, directors,
shareholders, employees, successors, parents, agents,_attorneys_and_assigus'_(fReleased
Parties”), from any and all claims, 'demands, obligations, or liabilities for injuries, death, losses

and damages, whether personal, property or economic, whether now known or unknown, in any _

way arising out of or related to his/her employment with Direct, the terms and conditions of that
employment, and the termination of employment up to the date of the signing this Agreement

Employee represents that he/she has not filed or caused to be filed'any lawsuit,` complaint, or
charge with respect to any claim this~Agreement purports to waive, and he/she promises never to

7 'file or prosecute any lawsuit, complaint, claim for damages, or charge based on such claims.

This provision will -not apply to`non-waivable charges or claims brought before a governmental
agency. However, for non-waivable claims, Employee agrees to waive any rights to monetary or

other recovery (including'but not limited to7 reinstatement) should a governmental agency or'
other party pursue claims on his/her behalf, either individually or as part of any class or

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collective action. Employee understands that the claims he/she is releasing may arise under
various laws and under any possible legal-, equitable-, statutory, common law, or tort theory,
including, but not limited to: -

2.1 Anti-discrimination statutes, such as the Age Discrimination in Employment Act
(“ADEA”), and the Older Workers Benefit Protection Act, which prohibit age discrimination in
employment; Title VII of the Civil Rights Act of 1964, which prohibits discrimination or
harassment based on race, color, national origin, religion, or sex; the Equal Pay Act, which
prohibits paying men and women unequal pay for equal work; the Americans With Disabilities
Act, which prohibits discrimination based on disability; the Tennessee Handicapped
Discrimination Act, § 8-50-103, et seq., Which prohibits discrimination based solely upon any
physical, mental or visual handicap of the applicant, or because such person uses a guide dog; the
Tennessee Human Rights Act, § 4-21-101, et seq., which prohibits discrimination based on race, '
creed, color, religion, sex, age or national origin; and any other federal, state, or local law
prohibiting employment discrimination, harassment or retaliation of any kind.

2.2 Other laws such as the Family and -Medical Leave Act`of 1993 (“FMLA”); any
federal, state, or local laws restricting an employer’s right to terminate employees, or otherwise
regulating employment; any federal, state, or local laws enforcing express or implied
employment contracts or requiring employers to deal with employees fairly or in good faith; and

any wage payment and collection law.

 

2.3 'l`ort and contract claims, such as claims for wrongful or constructive discharge,
negligence, physical or personal injury, emotional distress, H'aud, fraud in the inducement,
negligent misrepresentation, defamation, invasion of privacy, interference with contract or with
prospective economic advantage, breach of oral, express or implied contract, breach of covenants
of good faith and fair dealing, and similar or related,claims. '

2.4 Other released claims include, without limitation, claims: (i) under the Employee » '
Retirement Income Security Act of 1974; (ii) for compensation, stock options, bonuses, or lost
wages; (iii) in any way related to design or administration of any employee benefit program; (iv)

_ for severance or similar benefits or for post-employment health or group insurance benefits; or
(v) for fees, costs, or expenses of any attorneys who represent or have represented Employee.

 

2.5 Unknown claims. Employee understands that he/she is releasing the Released
Parties from claims that he/she may not know-about as of the date hereof and that this is his/her
knowing and voluntary intent even though someday he/she might learn that some or all of the`
facts he/she currently believes to be true are untrue and even though he/she might then regret
having signed this Agreement Employee is expressly assuming that risk and agrees that this
Agreement shall remain effective in all respects in any such case. Employee expressly waives all
rights he/she might have under any law that is intended to protect him/her from waiving
unknown claims, and Employee understands the significance of doing so.

~ 3. Representatioii's/Warranties. Employee represents warrants, and covenants that he/she
has not sold, assigned or transferred any claim he/she` is purporting to release, nor attempted to

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do s'o; he/she has the full legal authority to enter into this Agreement for herself and his/her
estate and requires no approval of anyone else; he/she relied on the advice of attorneys of his/her
choice concerning legal and tax `consequences; this Agreement has been completely read and
explained'to Employee by his/her attomey, if any; and lie/she fully understands and voluntarily
accepts the terms of the Agreement

4. FMLA and FLSA Rights Honored. Employee acknowledges that he/she has received
all of the leave from work for family and/or personal medical reasons and/or other benefits to
which he/she believes he/she is entitled under Direct’s policy and FMLA. Employee has no
pending request for FMLA leave. Direct has not mistreated Employee in any way because of any
illness or injury to Employee or any member of his/her family. Employee has received all
monetary compensation, including hourly wages, salary and/or overtime compensation, to which
he/ she believes he/she is entitled under the F air Labor Standards Act (“FLSA”).

5 . ADEA Release Requirements Satisfied. Employee understands that this Agreement
has to meet certain requirements to validly release any ADEA claims Employee might have had,
and Employee represents and Warrants that all such requirements have been satisfied Direct
hereby advises Employee that before signing this Agreement, heAshe may take twenty-one (21)
days to consider this Agreement Employee acknowledges/that (1) he/she took advantage of as
much of this period to consider this Agreement as he/she wished before signing; (2) he/she
carefully read this Agreement; (3) he/she fully understands it; (4) lhe/she entered into this
Agreement knowingly and voluntarily (free fi'om fi‘aud, duress, coercion, or mistake of fact); (5)
this Agreement is in writing and is understandable; (6) in this Agreement, he/she waives current
ADEA claims; (7) -he/she has not waived future ADEA claims; (8) he/she is receiving valuable
consideration in exchange for execution of this Agreement that he/she would not otherwise be
entitled to receive; and (9) Direct hereby advises Employee in writing to discuss this Agreement
with his/her attorney (at his/her own expense) prior to execution, and he/she has done so to the
extent he/she deemed appropriate

6. Confidentiality. “Information” means all confidential or proprietary information and
trade secrets of Direct learned by Employee in connection with his/her employment that was not
publicly disclosed or made generally available on a non-confidential basis. Information is and
will continue to be Direct’s exclusive property or trade secrets. Information includes without
limitation the following: (l) business policies, finances, sales information and business plans;
(2) financial projections, including without limitation, sales forecasts, targets and computation(s)
of market share; (3) customized software and marketing tools; (4) lists/identity of lDirect
customers, prospects and/or vendors (i.e. narnes, addresses, policy expiration dates, bank/credit
card account numbers, credit histories/reports, social security numbers, and telephone numbers);
(5)v performance criteria; (6) training materials, including methodologies, processes, and
practices, and other financial services methods developed and/or used by Direct or its affiliates;
(7) underwriting assumptions _ and guidelines; (8),premium rate development information;
(9) management and administrative systems; and (10) intellectual property rights, and license
agreements for use of third party intellectual property.

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' 6.1 Protection of Information Employee agrees not to divulge or use, directly or
indirectly, Information without Direct’s prior written consent Employee shall not directly or
indirectly misappropriate, divulge, or use trade secrets so long as the information is a trade secret

’ under applicable law. Employee agrees that if he/shel is questioned about hiformation by anyone
not authorized to receive it, he/she will notify Direct’s General Counsel within 24 hours and will
not respond to the inquiry without Direct’s written consent unless required by law to do so.

6.2 Return. Employee represents that with this Agreement, he/she has returned all
Information and/or other Direct property in his/her possession without exception and in
whatsoever form including without limitation all documents, records, keys, passcards,
passwords, credit cards, computers, disks, and other media o`f any kind relating to Direct and its
customers`, prospects and/or vendors, and any copies, in whole or part, whether or not prepared
by him/her, all of which are the sole and exclusive property of Direct, To the extent Information
was in electronic form, he/she represents that he/she irretrievably deleted all such information

6.3 Release Confidentialig. Employee shall not disclose the terms of this Agreement
or Amount to anyone other than his/her spouse and his/her legal or financial advisors and, even
then, only if they agree to maintain confidentiality. Such person’s disclosure of Information to
any third party is a violation of this Agreement by Employee. This section does not prohibit
disclosure of the terms of this Agreement or the Amount to the extent necessary to enforce this
Agreement or to the extent otherwise legally required.

7. Review & Revocation

7.1 Review: Before execating this Agreement, Employee may take 21 days to l
consider this Agreement Employee acknowledges and agrees that his/her waiver of rights
under this Agreement is knowing and voluntary and complies iii full with all criteria of the
regulations promulgated under the Age Discrimination in Employment Act, the Older Workers
Benef`it Protection Act, Title VII of the Civil Rights Act of 1964, and any and all federal, state
and local laws, regulations, and orders. Employee expressly warrants that he/she is advised
hereby in_ writing to consult with an attorney prior to executing this Agreement. ln`the event
that Employee executes'this Agreement prior to the expiration of the 21-day period, he/she
acknowledges that his/her execution was knowing and voluntary and not induced in any way by
Direct or any other person. ' ` '

7.2 Revocation: For a period of 7 days following his/her execution of this Agreement, '
Employee may revoke this Release. Ifhe/she wishes to revoke this Release, he/she_must revoke in
writing delivered by hand or confirmed facsimile prior to the end of the 7th day of the revocation
period to Kim Nowell, Senior Vice President, Human Resources, 1281 Murfi'eesboro Road,
Nashville, TN 37217, (615)366-3767 (fax), or the revocation will not be eff`ect:ive. If Employee
timely revokes this Agreement, all provisions hereof will be null and void, includiitgthe payment
in Section l above. If Employee does not advise Ms. Nowell in writing that he/she' revokes this _
Release.within 7 days of his/her execution of it, this Release shall be forever enforceable The
8th day following Employee’s execution of this Agreement shall'be the _Effective jDate of this

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Release. This Agreement is not effective or- enforceableuntil the revocation period has
expired ` '

l ` 8 . Governing Law. Except tothe extent governed by,federal law, this Agreement shall be

governed by the laws of and deemed to have been executed iii the State of Tennessee, without
reference to conflict of law principles This Agreement shall be deemed to be that negotiated and
approved by both Paities and no rule of strict construction shall be applied against either.party.

9. Entire ALeemenUSeverabiliW. This Agreement contains the entire agreement of and
supersedes all prior discussions, negotiations, or agreements between the Parties. The Parties
have not relied on any promise, representation, or warranty not expressly set forth herein. ln the
event that any word, phrase, sentence or provision violates any applicable statute, ordinance, or
rule of law in any applicable jurisdiction, such provision shall be ineffective to the extent of such
violation without invalidating any other provisions herein.

10. Countei_'garts. This Agreement may be signed in two counterparts, each of which shall
be deemed an original when signed and shall constitute the same instrument The Parties agree
that signatures that are faxed, or scanned or sent by electronic mail, shall be considered original
signatures for purposes of executing this Agreement

 

 

Employee acknowledges that lie/she carefully read this Agreement, he/she understands
completely its contents, he/she understands the significance and consequences of signing it, and
he/she intends to be legally bound by its terms Employee acknowledges that he/she was given
twenty-one (21) days to consider executing this Agreement and that he/she has been advised 111
writing to review this Agreement with counsel. Employee certifies that he/she has agreed to and
signed this Agreement voluntarily and as his/her own free will, act, and deed, and for full and
sufficient consideration

 

lN WITNESS WI-IEREOF, each of the Parties have executed on the dates set forth below.

 

 

 

 

Dated: 2010, DIRECT ADMlNISTRATION, [NC.,
' INC.
Kim W. Nowell, SVP, Human Resources
Dated: 2010, _
' ' ‘ Gloria Sesay
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STA'I`E OF 'I`ENNESSEE
DEPARTNIENT OF EMPLOYMENT SECURITY
UNELIPLOYMENT lNSURANCE

 

 

 

SEPARATION NOTICE
1. Employee‘s Name: Sesay, Gloria 2. SSN:

2. Last Employed: From: 9/27/2004 to 4/20/2010 Occupation :Treas Ast2

3. Where was work performed?-m

4. Reason for Separation: Discharge

lf lack of work, indicate if layoff is: [:I Permanent I:\ Temporary
lf temporary, when do you expect to recall this individual?

Date
lf other than lack of work, explain the circumstances of the separations »

Attendance

5. Employee received: l:l Wages in lieu of Notice [] Separation pay I:I Vacation Pay

ln the amount of $ for period from to

 

Employer’s Name: Direct Administration

EiviPLoYER’s AccoUNT NUMBER= 0 4 1 8 0 6 9
Address where additional information may be obtained: ` `

(Number shown on State Quarterly Wage and
Premium Report, DES 220.5, ES-031 8)

Street: 1281 Murf`reesboro Rd.

City:Nashville State: 'I`N Zip_Code: 37217

Telephone Number: 1615) 360-4557

l CERTIFY that the above worker has been separated
from Employer’s work and the information furnished
hereon is true and correct. This report has been handed
to or mailed to the worker.

 
 

Sign ture of Ojj" czal or Re !U' motive of the Employer

 

NOTICE TO EMPLOYER who has f rst-hand knowledge of the separation

Within 24 hours of the time of separation, you are required by

Rule 0560-1-1-02 of the Tennessee Employment Security Law Payroll Manager

to provide the employee with this document, properly executed, Title of Person signing
giving the reasons for separation If you subsequently receive

a request for the same information on ES-l 695, please give 4/30/2010

 

complete information iii your response. Date completed and Release to Employee

NOTICE TO EMPLOYEE
Yfz§%;‘ TAKE THIS NOTICE ro THE EMPnoYMENT sEcURiTY 0FF1CE iF YOU wisi-i To FiLE A
Es-0451

CLAIM FOR UNEMPLOYMENT INS:URANCE BENEFITS.

 

 

 

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From: Gloria A. Sesay

Sent: Thursday, September 24, 2009 2:01 PM
To: Todd Hage|y

Subject: RE: Hostile Environment

Thank you. ls it OK if l come and talk to you

From: Todd Hagely

Sent: Thursday, September 24, 2009 1:56 PM
To: Gloria A. Sesay

Subject: RE: Hostile Environment

l am off ofthe phone now.

Todd

 

From: Gloria A. Sesay

Sent: Thursday, September 24, 2009 12:54 PM
To: Kim M. Jones

Cc: Todd Hage|y

Subject: Hostile Environment

Kim,
The same thing is repeating itse|f, ”Vindictiveness" and it is making it difficult for me to function. l have been
by your office twice to talk to you.

l am sure no one on the team is been harassed this way. Like l always say that is the reason l come in the time | come in
and do my job and go home. '

l took my daughter for a driving test yesterday, Yes, l was gone a long time, l came in and talk to you. Al| of a sudden
this morning it is nothing but vindictiveness (drama)

l am a professional, l stayed till 8:00pm and performed my job besides l have been with the company five years l know
my duties, what is all this about.

This is more than emotional abuse. l am not here to be liked but to be a professional

~Thanks
Gloria

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Dear Former Direct Employee-Agent:

lf you have a current license and/or appointment With one or more of the insurers
within the Direct General Group of Companies or with whom Direct has a
managing general agency relationship, please be advised that such
appointment(s). are terminated effective as of the termination of your employment
with Direct. We have or will soon as possible tile the necessary termination of
appointment documentation with the applicable Department of lnsurance.

P|ease contact Direct’s licensing department if you have any questions

Sincere|y,

Amy Sanford

' VP - Legal

1281 Murfreesboro Road * Nashville, TN 37211 * Phone (615)399-4700
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“:`F TENNESSEE DEPARTMENT 0F LABOR AND WORKFORCE DEVELOPMENT l UNEMPLOYMENT lNSURANCE DlVlSlON

§§ §§ MEDICAL CERT|F|CATE
»a.»

(For the purpose of filing for Unemployment Insurance Beneiits)
Claimant Name _ Social Security Number Date

GLORlA A SESAY 1 " ' 04/23/2010
l. Dates of Treatment

This is to certify to the Tennessee Department of Labor and Workforoe Development that the above n/ar[ied individual

has been under my treatment from fn /7' /750£ to (»/`/7£’sr 26 w
(date first treated for the candition) (date last beasted for the condition)

v ll. Nature of Medical Condition or injury

l
l The individual was treated for ®)imévvjérbéé.dj Lu.~ sla plea I,Q WES$ WL
l

` (cammon nameo Wmedical condition or'injury)
Circle One l @ §7“£ 5_, cl Ub §
j @ N Was the injury or.condition serious eno gh to ecessitate leaving usual work?

' ii Yes, for what period oiiime 0"{ (‘~`r 2011') to
(enter date) (enter date)

Y@ Was the injury or condition caused by the individual's last period of employment?

ll|. Release/Restrictions
Circle One

~Y 62 The individual was released

 

(enter date)
l _Y n my opinion the individual is able to return to usual duties.

lf Yes, enter specific date individual became able to return to usual duties:

(enter d_at )
if No. enter estimated date individual is expected to be able to return to usual duties: ?(F/@
( nter date)

§ N The individual is able to work with the following restrictions:

 

_ ` _LU@AA___ZZ‘_UL,ZW€?§/We MP géi/».§

Comments: 76 d }Z_fH/

 

|V. Aut

  

Failure to retum by: 05/03/2010
could result in delay or denial of benefits
At,m: Adjudicator 1907 Date:

' ./D.O./
7 Other:
q/)Fé¢/'D (Please specifv)
l l_ k 7 _ .
PiinrMeaicaiPractitioner's Name: g;’¢¢€£-)é //`o’r 7QU£2 1
gch(/;.lmzsacc):§:ren Address: z j‘{ `Z f CQMJLA/( A/_}é;g
B X
NAsHviLLE, TN 37228-0870 f 1411)’ ?@ 95

_ . Telephone:(é-Z'g ) 83 § ' /;; §/7 nom/1
'. claims centerre\ephone No: 615-253.0907 ’

C'a"“S&e"§eéF§’i§°cv§lib?§§§“i)ocumem 1 Filed 06/07/12 Page 22 of 54 PagelD #: 35

Signed:

 

 

 

 

 

LB\'|514(R.7DB)

 

 

 

51 Summit Primary Care

;' Ph 615~-883~2331 Fax:615-391-17'-

j 3939` Ceniral Pii<e, H-ermitage, TN 3707'6
" l

Name GLOR:A SESAY l bare 061/01/2'@10§
_:' Acidr 504 WiLSON DR r/ DoB i:,;~ ‘.
city MrJuLiEi, TN 37122 . ph<615>574_9~7~71 g

 

,m»`»#»`.`,r'-\¢;<i`zj~.:

    
        
  

  
   
   
 

WORK EXCUSE Pl was seen in our clinic. Please excuse for
absences May return on Monday, June 7, 2010 without
restrictions

, ,~ _\,""

* kirwan-drive

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j ;Disp

:j. Ref,'" **w*»**x-r+

.` Dispense as Wrilten

§ Ernesto Vaz;quez, MD
f DEA _

v mmi~*"”~wnmv~i~uwm,.w

4 Gloria A. Sesay

From: Heather Ebersberger

` Sent: Wednesday, Jan_uary 20, 2010 8:34 AM
To: `Gloria A. Sesay
Subject: FMLA

l need to see you ASAP about your FMLA paperwork, stop by when you have a moment.

il its i§
A_M_ i_:;i:/i_ 315/tit UQ

BARBARA W.EBB. CLERK & MASTER
CHANCERY COURT WILSON CO, TN

1
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From: Kim M. Jones

Sent: Monday, February 22, 2010 5:23 PM
To: Gloria A. Sesay

Subject: RE: Gloria Vacation

Ok thanks l know you changed several times and l couldn’t remember.

From: Gloria A. Sesay

Sent: Monday, February 22, 2010 4:40 PM
To: Kim M. Jones

Subject: FW: Gloria Vacation
.T.mportance: High

Kim,
As per our communication today, please see below communication

Thanks
Gloria Sesay
(615)365-3639

From: Kim M. Jones

Sent: Monday, February 01, 2010 4:2_9 PM
To: Nashville Treasury

Subject: Gloria Vacation

Gloria will be on vacation from Feb 4 - Feb 20.

Thanks,
Kim`

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littp: //szOOSl .wc. mail. comcast. net/ziinbra/public/blank .11tm1 . 6/24/2010 7

TENNESBEE DEPARTNENT DF LABDP HND WURHFDRCE DEVELDPMENT
DIVISIUN EF EHPLBYHENT BECURITY

155 IMFDRTANTE AGENCY DECIEZDN AVISD IMPDRTANTE
EMPLEYER: l CMC 0403!0403
DIRECT GENEHAL INBURANCE
CLAIHANT: £NC O4DEFO4OB ATTN: PEREDNNEL
1381 NURFREESBURE RQAD
GLGHIA § SESAY NAEHVILLE: TN 37217

RELATED HEALTH REABDNS.
HCLA

504 NILBUN DRIVE '
HDUNT JULIET, TN 3?122

CLAIMANT HAB FGRCED TD LEAVE MDST RECENT NDRK BEEAUEE DF NBN-NDRH

IMANI REQS/'~I-BEB~ME»D~ SD~L-€ A&_BQGQMEE\H`All'-IBN P¥LBH{~BJ_PMLPLM rRFw;~ ~__ ---' ~~¢»~.
RETURNlNG TO MDR% AT THIS TIME.

THE CLAIHANT 15 NDT ¥ET ABLE 15 FERFBRH CLAIHANT S USUHL TBUTIEB.
UNDER TCA 50~7-3031 AB BDDN AB THE CLAINANT 15 RELEASEDT

PERFDRH UEUAL DUTIES. IF THE CLAIHANT RETURNS TO THE EMPLBYER AND
DFFERB TU PERFDPNP USUAL UURK, FINDING SUCH HBRK UNAVAILABLE,
CLAIMANT HAY BE PRUVED FUR BENEFITSi Ir GTHERMISE ELIQIBL

THE CL§INSNT 15 INELIGIBLE FDR BENEFITB AB GF THE CLAIM DATE BELBM
AND UNTIL THEEE CONDITIDNS ARE HET.

APPEAL RIGHTS: INTERESTED PARTIEB HAVE THE RIGHT TU APPEAL THIS
DECIEIUN HITHIN 15'CALENDAR DA?E BF DATE HAILED. `IF STATE GFFICES
ARE CLUEED GN THE FINAL DAY, THE NEXT EUSINEEB DAY IB THE DEADL§NE_
LATE APFEALS NILL QNLY BE ALLGHED IF YGU CAN EHDWi IH § HEARINGi
THAT VDU HHD GDGB CAUEE. FILE THE AFPEAL BY NAIL TG TDLMD» APPEALB
TRIBUNAL, 220 FRENCH.LANDING DR, NAEHVILLEi TN 37243“1902 OR BY FAX
TO (é15)741-3933. THE CLAIHANT’B SBCIAL SECURITY NUHBER NUST AFPEAR
UN ALL DGCUMENTS. THE GUIDE FER RECEIVING UI BENEFITS AND THE
ENPLGYER' 5 HANDBBQK CDNTAIN ADDITIQNAL INFDRMATIDN iHE CLAIMANT
MUBT CERTIF¥ NEEML{ TD REMAIN ELIGIBLE FDE BENEFITS SHUULD FILING
AN APPL §L RESULT IN APPRDVAL. YQU MAY BE REPRESENTED B¥ AN ATTURNE¥'
UR HSBIETED BY ANY GTHER REFREEENTATIVE YUU CHUDBE IF XGU CANNDT
AFFURD AN HTTURMEY» FREE DR LUH CUST LEGAL HSSISTANCE MAY BE
AUAILABLE THRUUGH VDUR LDCAL LEGAL EEHUICES URGANIZATIUN DE BAR
ASBDCIATIDN NE CANNDT PRUVIDE AN ATTORNEV FGR VDU

_EBNL , XXXFXX+I?BS , , EMPLDYER,RESPDNSE;'TINELY, -,
CLAIM DATE: 04/ 1!2010 REEPDNBE RECEIVED: G4IEBfEOID
BYE: O4f1&/EGII

LDCAL UFFICE: 0408/0403
DATE HAILED: 05£27!2916 ABJ QFF ST!DK: 190?
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Direct-

1281 Murfreesboro Road
Nashville, TN 37217

December 17, 2008

Gloria Sesay
504 Wilson Drive
Mt. Juliet, TN 37122

Dear Ms. Sesay,

Direct General Corporation and subsidiaries view employee complaints and concerns as a serious
matter, and we will investigate when brought to our attention.

Per our conversation on November 14, 2008 regarding your complaint. l have investigated the matter.

lf there is anything else that you need please feel free to contact me at 615-366-3778.

Since

 

da ung
Human Resources Manager

 

 

? 35 NASHV\LLE,TN 37217
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Case 3:12-cv-00585 Document 1 Filed 06/07/12 Page 28 of 54 Page|D #: 91

Gloria A. Sesay

From: Gloria A. Sesay

Sent: Friday, November 13, 2009 9:30 AM

To: Kim N|. Jones

Subject: Response to Sitting Arrangement as of 11/12/09
' Fol|ow Up Flag: Follow up

Flag Status: Flagged

Kim,

After thinking through our discussion yesterday regarding my sitting position, | do have this question? l have `
been with the company for five years and has constantly
been secluded for my teammates based on my sitting position. ls there a reason?

Thanks

Gloria Sesay
E)<t. 3639

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Case 3:12-cv

d Gloria A. Sesay

From: Gloria A. Sesay

Sent: Thursday, November 12, 2009 7:09 PM `

To: Dan Tarantin

Subject: FW: Comp\aint n L E
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il.l,; ’1- "f ;;J"~.hli
§A;;'ARA \r-»,"EEKC(BFH & MYKS'PiER
Dear Mr. ch, "

CHANCERYCOURIWHSONCO,TN
I thank you very much for the communication under "Code of Conduct" that was sent out

on Tuesday November 10, 2099. It is with joy that some of us have to say it is about time
that something be done to improve the environment and our working conditions

we are working under. I have attached a draft I had intended to forward you months ago but
thought HR and my bosses would have rectified by giving you time to correct and develop
other areas of the business. '

It is so bad that some of us, the tools to process the work is been withheld from us,
responses been withheld from us, work taken away from us and given to others that creates
nothing but error and cost to the company. Time is been spent on resolving issue that are
not work related as to hearsay and so forth. I am also forwarding you issues as recent as
the earlier part of this week and should you have any question, I would greatly and politely
give you other instances in person if given the opportunity. I implore that you are a man of
integrity as I can tell not only from your written communications to your employees but the
way you acknowledge us when you walk by.

l take into consideration the third paragraph in your communication stating that "Our
commitment to the highest ethical standards serves at the cornerstone for our success, both
individual and as a company. lt helps us deliver greater customer satisfaction and enhances
our reputation within the business community. It also creates the platform for sustainable
success." To this I say thank-you.

Faithfully,

Gloria Sesay

----- Original Message-----

From: CN=Gloria A. Sesay/O=Direct
Sent: Sunday, April 65, 2009 12100 AM
To: CN=Dan Tarantin/O=Direct

Subject: Re: Complaint

Dan,

Good morning! I am sorry to bother you, but I have been going through some Heartaches at my
present position with my manager. I have tried all angles and nothing but road blocks and
threats. I am awaiting a response from Linda voung today as she promised to get back with me
sometime today.

I look forward to talking with you.

Gloria A. Sesay
Treasury Assistant
Direct General Financial Services Inc.
Tel: (890) 330-4541 ext. 3639
(615) 365-3639

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Case 3:1'2-cv-00585 Document 1 Filed 06/07/12 Page 31 of 54 Page|D #: 94

SmartZone Communications Center ' ' l b y Page 4 of 4

Subject: Code of Conduct

A)¢'// do right Jy you?

To A|l Direct General Employees:

I am pleased to announce that in the upcoming weeks, we will be rolling out a new Code of Oonduct to all Direct General employees.

In today's competitive, fast changing marketplace, where business ethics are all too often comprised or ignored altogether, our Code of
Oonduct sets forth the conslzainis that do not change, here at Direct General.

Our commitment to the highest ethical standards serves at the cornerstone for our success, both individual and as a company. It helps

us deliver greater customer satisfaction and enhances our reputation within the business community. It also creates the platform for
susminable success

This roll-out will be a part of a required workshop addressing core policies and respect in the workplace A code of conduct can not

anticipate every situation, however in the workshop you will gain a clear understanding of the ethics of our company and what we expect
from everyone who works here.

We believe doing right by our o.iscomers begins with doing right by our employees We value the many cnfferent perspectives our
employees bring to the table and know that this diversity can only make us stronger. By demonstrating unquesh`onab|e ethics and

integrity in all that we do, we secure a better future for all of us. Simply put, integrity builds trust, and trust is essenljal for building
business relationships that endure and a company that prospers.

Informalion regarding the upcoming mandatory meetings and webinars will be sent to you very soon. I appreciate everyone’s
participah`on in these meeldngs and your commitment to Direct.

Thank you for all that you do.

Dan

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SmartZone Communications Center Page 1 of 4

SmartZone Communications Center g-banvaos@comcasr.ne

Font size

FW: Code of Conduct

From : Gloria A. Sesay <Gloria.Sesay@directgeneral.com> Tue Nov 10 2009 3:20:33 PM
Subject: : FW: Code of Conduct '
To : G Banya09 <G.Banya09@comcastnet>

.»-5,»'2 attachments

From: DTarantinCEO

Sent: Tuesday, November 10, 2009 12:20 PM

To: Aaron A. Payne; Aaron L. Ha|e; Aaron Sandbu|te; Abby G. Lewel|en; Adam L. Troxler; Adam W. Herbison; Adarsh Raveendran; Adrian
C. Opinion; Adrianna B. Va|dez; Adrienne L. Chapman; Ahmid B. Sesay; Aida I. Barada; Aimee B. Williams; Ajith Lal; Albert Ebersbach;
Alecia M. Whitt; Alex E. Huertas; Aiexander V. Campana; Alice A. Gonza|ez; Alicia Campos; Alicia D. Pierce; Alisa S. Beloney; Allan D.
Duarte; Allan J. Mackey; Al|en Davis; Al|en Winslow; Allison R. Busby; Amanda A. B|ackford; Amanda Kay Jarrell; Amanda L. Rios;
Amanda Mauck; Amanda R. Belone; Amanda S. Daigre; Amarnath AIppathurai; Amos A. Shirikissoon; Amy B. Ivey; Amy M. Sanford; Amy
P. Stokes; Amy R. Richard; Ana L. Ferretiz; Ana P. Reeves; Ana Z. Bennett; Anantha S. LelGhmanan; Andrea J. Lidel|; Andrea M. Berens;
Andrew D. Partain; Andrew M. Sch|esinger; Angel E. Machuca Mejias; Angel L. Vega; Angela D. Cooper; Angela D. Raines; Angela Green;
Angela J. Wagner; Angela K. Militello; Angela L. Parker; Angela M. Boyd; Angela M. Taylor; Angela V. Thomton; Angelica A. Cevallos;
Anilesh Yenumulapa|ll; Anita A. Clark; Anna G. Sarabia; Anna M. Armond; Anna T. Landry; Annette F. Glorro; Anthony D. Parker; Anthony
l.. Rucker; April J. Cola; Armando B. Longoria; Artis F. V\h|liams; Ashley B. Burre||;'Ashley Baker; Ashley D. Waldecker; Ashley H. Mack;
Ashley J. McCray; Ashley L. Phi||ips; Austin G. Bonn; B.Joe Mitchell; Barbara A. Hollowe|l; Barbara A. Robinson; Barbara C. Sho|mire;
Barbara Grillo; Barbara J. G|over; Barbara J. Harkness; Barbara J. Michae|; Barbara R. Ardoin; Barclay M. Jones; Barry E. Guillory; Ben B.
Askeland; Bennetta M. Bever|y; Bernadette Germain; Bemice L. Batise; Bessy R. Manzano; Beth A. Hol|ingsworth; Beth J. Hunt; Betsy
Santana; Bettina C. Head; Betty F. Thomas; Betty P. Haddock; Beveriy A. Sandifer; Beveriy E. Leagea; Beveriy J. Bench; Bill C. Zamanis;
Bill E. Lowry; Bill Vanwagner; Bi|ly A. Levine; B|anca L. Jerezano; Bonnie D. Dencausse; Bonnie I. McKenzie; Brack I. Stacy; Brad White;
Brandon R. Cordle; Brandy N. Atkins; Brandy R. Eppinett; Brandy R. Morn's; Brandy Ross; Brenda C. Bostwick; Brenda F. Chairs; Brenda F.
Savage; Brenda P. Farris; Brenna L. Knierim; Brent Menier; Brent Owens; Brett A. Schu|lz; Brett O. Fau|kner; Brian C. Cochran; Brian
David Beach; Brian G. Moore; Brian K. Ott; Brian T. Hanrahan; Brianna A. Melendez; Brianne R. Adams; Brittany A. Sanders; Brittany D.
Coverson; Brittany E. Cooner; Brittany E. Hopkins; Brittany L. Barber; Brittany L. Smith; Bruce Blair; Bruce R. Everett; Bruce W. E|lis;
Brunilda K. Lazano; BUIOOD; BU1002; BU1003; BU1005; BU1010; BU1011; BU1013; BU1014; BU1015; BU1018; BU1020; BU1023;
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BU2446; BU2447; BU2448; BU2449; BU2450; BU2451; BU2453; BU2455; BU2456; BU2458; Calandria N. Grayer; Caan K. Curd; Cameron

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` CoMMIS'sIoNER'SDESIGNEE
TENNESSE_E DEPARTMENT OF LABOR & WoRKFoRCE DEVELC)PMENT

220 FRENCH LANDING DRIVE
NASHVILLE, TN 37243-1002 <615)741-:736
AcKNoWLEDGMENT 0F APPEAL FAX<615)741-0290
Claimant .' Employeri
GLoRrA A sEsAY' DIRECT GENERAL rNsURANcE

ATT_N: STEPHANlE HAYNES
1281 MURFREESBORO RD
NASHVILLE TN 37217-0000

504 WlLSON DRIVE
MOUNT IULlET TN 37122-0000

ssn#\m-m-lvss Avlso IMPORTANTE ' Board# 1131954AA

This is to inform you that the claimant appealed the Appeals Tribunal Decislon
NumberllO5578AA,dated 05/10/2011 to the Commissioner's Designee on 05/24/2011,

, The Designee is appointed by the Commissioner to decide appeals from decisions of the
Appeals Tribunal. lt will review the record of the Appeals Tribunal hearing(s) on your
case. lt will make a decision, which it will mail to you as soon as possible.

Most cases are decided on the existing record. lf additional evidence is offered,

however, the Designee may set a hearing to receive that evidence before making a decision.
Do you wish to have another hearing to present additional evidence? ___yes ___no

(check one). lf yes, use the back of this form or a separate sheet to describe the
evidence. Give a specific description of the facts it will prove and state why it was not
presented to the Appeals Tribunal. Return the form within (7) calendar days of the

date of this notice to the Commissioner's Designee, Tennessee Department of Labor
Workforce Development, 220 French Landing Dr., Nashville, TN 37243-1002.

lf the Designee sets a hearing, you will be notified of the date, time, and place for
that Hearing. lf additional evidence would not affect the Designee's'decision, then the
Designee will decide the case on the existing record without a hearing.

lf a witness will not appear voluntarily, Or if you do not possess the additional documents
you wish to present, the Designee may require witnesses, papers, or objects to appear at
a hearing by subpoena. lf a subpoena is needed, please mail or fax the Designee a complete

name and address for any witness, or custodian of a record or object, as soon as possible.
You may be represented by an attorney or other individual in this appeal. lf you are a
claimant, free or low-cost legal assistance may be available through your local Legal
Services office or bar association.

The Designee's staff will answer questions about procedure.Do not call to influence the
Designee's decision. Make those statements in writing or in'a hearing.

If you send correspondence by fax, please do not send additional copies by mail. Please
send the opposing party a copy of any correspondence that you send the Designee.

Este es un aviso importante relacionado con sus beneficios de desempleo.
CC: - »
' Stephen Chri.stophery _ b
Legal Aid Society Of Mid Tn
650 North Water Ave -_ y
' Gaiiatin, TN 37066

Date of mailing:O5/25/2011
tl: 07/08/2011

 

Signature of Person Returning Form

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rI`ENNESSEE DEPARTMENT OF LABOR & WORKFORCE DEVELOPMENT
-. EMPLOYMENT SECURITY DIVISION
DECISION OF APPEALS TRIBUNAL

 

AVISO IMPORTANTE

DATE oF MAILING: 07/01/2010 DOCKET # 10-11785AA
oFFIcE # 408

BYE 04/16/2011

CLAI]VIANT v EMPLOYER

GLORIA A. sEsAY DIRECT GENERAL lNSURANCE
504 wILsoN DRIVE ATTN= PERsoNNEL

MOUNT JULIET TN 37122 0000 y 1281 MURFREESBORC RD

NASHV]LLE '_I`N 37217-0000

SSN XXX-XX-l735 » ER# 0000000
615-574-9771 b 615-399-0600

On April 21, 2010, the claimant filed an initial claim for unemployment benefits. On May 27, 2010, the
Agency found that the claimant had been forced to leave her most recent work because she was sick or
disabled. In accordance With TCA § 50-7-303(a)(1), the claimant was not eligible until she returned to the
employer and offered to work as soon as she was able to work again and perform her former duties. On
June 1, 2010, the claimant filed an appeal from the Agency Decision to the Appeals Tribunal. After due
notice to all interested .parties, a telephone hearing was scheduled on this case on Wednesday, June 30,
2010, at Which time the claimant appeared and testified. Velda Krancer, Director of Human Resources,
appeared and testified'for the employer.

After carefully considering the testimony and the entire record in the case, the Appeals Tribunal makes
the following:

FINDINGS OF FACT; The claimant's most recent employment prior to filing this claim was as treasury
assistant for Direct General Insurance from September 27, 2004 until April 21, 2010, The claimant was
forced to leave her most recent work due to a non-work related medical condition that was not shown to be
work-related on her medical certificate The medical certificate also shows that the claimant's medical
condition necessitated leaving usual work beginning April 19, 2010, The claimant has not been released to
l return to her usual duties. The claimant had notified the vice president of her medical_cor_rditign, but the
claimant did not provide the employer With any medical documentation substantiating her condition.

CONCLUSIONS OF LAW: The Appeals Tribunal holds that the claimant is not eligible for benefits. The
issue is whether the claimant has been separated from work because af an illness er injury, notified the
employer of the circumstances surrounding such separation, and presented the employer with a medical
release authorizing the claimant to resume her former duties as contemplated by TCA § 50-7-303(a)(1). A
person forced to leave work due to sickness will be disqualified for benefits While she is unable to work.
The claimant will not be disqualified for benefits once she becomes available and able for work again if she
(1) presents competent medical proof that she was forced to leave work; (2) notifies the employer of that
fact as soon as it is reasonably practical to do so; (3) returns to the employer and offers herself for work as
soon as she is again able to work; and (4) is able to perform her former duties.

Here, the claimant left Work due to an illness not work_ related. The claimant notified the vice president of
LB_0952 Case 3:12-cv-OO585 Document 1 Fl|ed. 06/07/12 Page 35 of 54 Page|D #: 98

her medical condition, yet there is no indication the claimant provided any Supporting medical
documentation. It is also unclear why the claimant did not request time off under Family Medical Leave.
Nevertheless, the claimant has not been released to resume working, and the medical certificate does not
established whether or not she is or will be able to return to her usual duties. The claimant is not eligible
for unemployment benefits. The claimant has failed to comply with provisions of the above-referenced

statute and is not eligible for benefits.

DECISION: The Agency Decision is affirmed. The claimant is not eligible for unemployment benefits
under TCA § 50-7-303(a)(1). The claim is denied as of April 21, 2010, and until the claimant qualifies for

benefitsin accordance with Tennessee Employment Security Law.

/s/ Jacqueline Stephenson

JS :jlc .
Unemployment Appeals Hearing Officer

Pursuant to the provisions of TCA § 50-7-304(c), this decision will become final on 07/16/2010 unless any interested party

makes a written appeal to the Board of Review, Teun. Dept of Labor and Workforce Development, 220 French Landing Dr.,

~Nashville, TN 37243-1002 (Fax (615) 741-0290).

If the last day for filing falls on a weekend or holiday, the deadline extends to the next business day.
Please include the claimant's Social Security number on all correspondence

Claimant ls responsible for certifying his/her eligibility on a weekly basis as long as he/she' is unemployed.

Este es un aviso importante relacionado con sus beneficios de desempleo.

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Gloria A. Sesay

From: Gloria A. Sesay

Sent: Wednesday, January 13, 2010 5:38 Pl\/|
To: Kim |\/l. Jones
Subject: RE: We||s Fargo Logon

Thank you Kim., l do appreciate it,

Have a good evening
Gloria

 

From: Kim M. Jones

Sent: Wednesday, January 13, 2010 5:37 PM
To: Gloria A. Sesay

Subject: We||s Fargo Logon

Gloria,
Your user |D for We|ls Fargo is SESAYG. Your temporary password is l\/londayOl.

Let me know if you have any questions.
Thanks

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Gloria A. Sesay

From: Gloria A. Sesay

Sent: Thursday, September 24, 2009 5:08 PM
To: ~ Todd Hagely

Subject: RE: Hostile Environment

lmportance: High

Categories: Red Category

Todd,

Thank you very much for taking the time to listen to plea.. l am really grateful for your patience and understanding and
continue to pray that things get better.

l am forwarding you this explanation because l had brought it up in the meeting Yes, l was called by our Rep at Capita|
One Bank (225) 242-4158 and was very upset based on the telephone

call received from Kim and the Way she has addressed her. She took insult to it, but l tried to calm her down and was
wondering what brought about all this.

This would have never happened if they would have let me perform my duties. | did all the tax deposit tickets and there
was no problem compared to the Links in terms of the number of accounts-. Now we are having a dent on our Company's
reputation because of these spiteful things. Thinking they' re hurting Gloria but indirectly it is costing the compa ny.

|n terms of paying for reprints, errors and delay in processing our deposits.

When these things happens, who do they call to rectify it? ” The Stone that the Builder rejected”
l am called in to redo the work, the Clients/ Banks calls me to see what is going on. l now become a mediator even
though l am being exterminated.

How did l found out about yesterday's rift on the phone between my Boss and the Bank. She never mentioned it to me
and l never did ask but l was called upon as much as
l was gone to help in resolving the issue by clarifying What is it that we needed. (speciflcs)

D$l\/l's communicates with me, the Agents and so on, but l do not come and question anyone but tries to calm things 3
down. _ `
| don't think it is the Banks fault if the job would have been channeled correct|y.

| did not bring this up to Kim it is just coincidental that this happened today and she never mentioned it either. That is
what happens when job functions are not channeled
correctly or clarified.

Gloria Sesay
Ext. 3639

 

 

From: Todd Hagely

Sent: Thursday, September 24, 2009 2:01 PM
To: Gloria A. Sesay

Subject: RE: Hostile Environment

SU|’€

1

Case 3:12-cv-OO585 Document 1 Filed 06/07/12 Page 38 of 54 Page|D #: 101

/`

 

Gloria A. Sesay c
To: Kim M. Jones 7
Cc: Heather Ebersberger
Subject: Response to Meeting Rescheduled as of 1 1119/09
Dear Kim, o$._'\>‘rmil't
This is too et irate our meeting as of 11/17/09. l know for sure that l do not have a performance problem as l

perform over and beyond my call of duty. But as you ’ve stated
To me before that you will never recommend me for a job neither promoted me, l respect your corresponding actions to

your sayings. You refused to put it in writing my questions to you regarding my job functions and productivity. l know
the reason beyond that which is not to contradict your savings and opinion about me.

My query is, when you called me in last week, it was not based on job performance rather that your usual vindictiveness
of hearsay. Since this has been taken to HR, why not let them handle it for now based on the President’s email. As
stated before in person as well as in writing, there :Xe an issue of "Trust, Respect and Fairness" these three are ‘vit'als
in any relationship especially \` §

in business

When this is resolved, we can continue with your suggestions but for now our problem is not that of job functions but of
work ethic/relations; l am tired of been called into your office about what Jane, Peter and Harry said People following

me around even to the ladies room l am not here to be baby sat rather than to make a living and this l do by bca lo¢,‘h
productive °°-\- j
l need my health (sanity). Too much hostility and l want to be able to serve my President and Company fully with all
who|eness and’ 1s therefore entrusting my patience to them 1n resolving the' issue.

Sincere|y,

 

Gloria$esay
(615)365-3639 ~, " F ii L E D,
` f" 11 1
AM / 'z)s/

BARBARA WEBB, C'LERK & MASTER
CHANCERY COURT WlLSON CO, TN

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Case 3:12-cv-OO585 Document 1 Filed 06/07/12 Page 39 of 54 Page|D #: 102

 

 

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Page l ol`l

TN Dept of Labor and VVorkforce A_M_ " l § _*i ,"iri
Employment Security Division BARB _( ~ -
220 French Landing Drive CHASS;\R\?/§NH%RK & MASTER
Nashville, TN 37243~1002 lLSON CO, TN

Attn: J. Stephenson

SS Number: XXX-XX-XXXX Docket Number: 10-11785-AA
Claimant: Gloria A. Sesay Employer: Direct General insurance
Company

504 Wilson Drive 1281 l\/lurfreesboro Road

l\/lount Juliet, TN. 37122 ' Nashville, TN 37217-0000

(615) 553-4711 (615) 399-0600

Dear Sir/|\/ladam,

P|ease find supporting documentation as to the said case set for telephone hearing on Thursday June 30th
2010 at 1:45pm Central Time.

P|ease note the in the telephone number from (615) 574-9771 to (615) 553-4711. The latter is a land line
which is preferable

Also, | am submitting the following names as witnesses or asked that they be subpoenas as the are coworkers
who are presently employed with the company.

l\/larivuana Stout-Leinoff - She said she can be conferenced in you want to
1810 Shelby Avenue

Nashville, TN 37206

(615) 838-6664 Cel|

(615) 228~4444 Home

Sherri Price

1416 Cle\/es Street
Ol_d l-lickory, TN 37138
(615) 513-7480 Ce||
(615) 847-4884 Home

Thank you very much for your understanding as l look for to talking with you.

Regards

Gloria Sesay

Ubom;gla§§ 3:12-cv-00585 Document 1 Filed 06/07/12 Page 41 of 54 Page|D #: 10)4_>4/20…

 

 

Performance Aggraisa| Resgonse as of 11[19[08

l. Based on the job description l applied for, | was never trained on all of them. The ones that l
was trained on, | fully performed. (exhibit .1 -job ad)

2. As a new hire, l was assigned a trainer by the name of Bill l\/|eek. Due to his health, he was out
most of the time. When | would seek help from his back~up or others on the team, it was one
excuse after another e.g. l do not know how he does this/that, l have never worked that desk
before, | don't want to tell you wrong, why don't you wait till he gets back. | would have to
figure things out on my own as there was no procedure manual. There and then | knew there
was no team effort.

3. | went on a short term disability.

4. The day l came back, a new member of the team quit and was instructed to hand me all her
work load.

5. Two weeks later Hurricane Katrina hit and this created a set back both With the banks
and our systems.

With all these issues at hand, | was expecting Kim to have called a team meeting to see where
we stand and how we can pull together to work around these issues. She did her usual thing by
listening to gossip and made a hasty decision.

For the fact that | was new, | did not want to fight but believed that whatever area she puts me,
based on my knowledge, skills and work experience, l will persevere and excel as usual and that
is exactly so, even though Kim refused to see that. (exhibit. 2 - Carins & NSF's)

6. l was never trained on credit card matching Based on Kim's accusation that l was not
competent in processing deposit corrections, as late as August she asked me to resolve
an issue (exhibit 111 - Trustmark) Also, if the people she so trusted, were more capable than
l, there was an issue that l was working on when Kim took me off that desk, that case was never
closed since Dece'mber'2'005 until this Summer When our client came back requesting her
$40.00 credit. Who did Kim suggest or think is capable in the entire team to retrieve funds that
far gone, no other but Gloria. (exhibit. 1V)

The job that l was described as incompetent in doing, when a critical issue arises, l am the one
always brought in as an expert in that field.

All l see is envy, jealousy, vindictiveness which produces nothing but strife. Any manager that
listens to gossip and acts on it is incompetent. A good manager should be aforethought

7. Under work related skills, Kim at first gave me “Below Standard." When | questioned her,
she told me she is basing it on the ”l\/|issing Deposit" as of 08/08. Todd in the presence of Linda
Young told her to leave it a lone at a previous meeting. ls this not Coercive Power? (see
excerpt - V)

Why should l be penalized for doing myjob? Where does company loyalty stands if Kim
is so concerned about Chase, and where do ethics stand, for me to refer to another
Employee been a thief. This is illegal and it is not my place.

8. l need better explanation about her stating that ”l need to use more discretion in some of my
correspondence” | want her to elaborate, has anyone ever complained about my written/

Oral communication? Has it affected the company's mission? Was Direct not aware of my
national origin, is Kim questioning my educational background, level of education or the school |
attend?

 

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10.

11.

Performance Appraisa| Response as of 11[19/08

What big picture is she referring to? l will like an explanation, together with an example in order
for me not to make the same mistake if there has been any.
lam the only employee servicing all of Direct agencies, mobile, claims and corporate offices,
setting up accounts, resolving issues with banks including other assignments and special
projects. What does Kim mean by slow times? y
Even the District managers are broken down by having Regional managers. lt is not wise for
someone to show some appreciation or be conscientious in their dealings with others.
What is it about improving my access skills that has hindered or altered my job function?
What is it that l have excelled in? What skills do Kim think | posses? This is the reason for me
posing the following questions that she has refused to answer stating that she will not respond
to them in writing.

a) What difference did my efforts make to the bottom line?

b) What did l do to contribute to excellent customer service?

c) Did my efforts make a dent toward furthering the Company's goals?

d) Did l take leadership role when the opportunity arose?

e) Do you want me to be your point of contact (liaison) between the Banks and the

Agents as this is where they/we are having problems?
f) What Will you do to help me do a betterjob?
g) Are there other people in the dept. who you believe can help me achieve these
goals?

Then l said this shows that you can put bad things in writing about me but nothing good in
writing that was when she got up from her seat and made the statement

”| will never recommend you for any position" for the fact that you

Were not submissive to me when l told you not to retrieve the funds from Chase and you
continued on with it.

l want Kim to know that this is a treat and it is illega|.

No human being should be held down or kept from pursing her dreams.
Not only is it in-humane, l am a US citizen, l have kids that are US citizens
that l have to provide for.

What l see is a l\/lanager that does not want it to be known that someone has been negligent in
performing their responsibilities and that someone that she has been discrediting step-up in
doing that job, a month later after the funds has been missing and retrieved them. l think she is
embarrassed based on what she's have been communicating about me being incompetent, and
also claiming that the agent did not have a Validated Receipts and so on when there has been
one all along.

Based on my time, l am always here, l stay late to complete my work orders that comes in late
from Dl\/|'s, Trainers, Agents and so forth. l do not carry my work over as they are time sensitive.
| reconcile all my accounts, retrieve all request all credits from banks errors on our NSF's.

 

 

 

 

12.

13.

Performance A raisa| Res onse as of 11 19 08

l have to do thus as some of my colleagues that has second jobs or that has special assignments
can come in on weekends, with me it is not so. So much has been done to me to get
discouraged or frustrated but l have stock it out because l care about Direct General Corp.

Also, with all that l am going through working in such a hostile environment, it makes it difficult
to come in. You're never appreciated, always reprimanded,' do not know what is going on in the
team. lt is very frustrating. ln order for me to function wel|, by maintaining my sanity, l choose
to work around the hostility.

Kim stated that l need to document instructions regarding my duties, l have been requesting
we write up a procedure manual since l started this job, | even included that in my response to
the company survey. When it comes to documentation, lam number one. Everyjob that l
perform is documented and l have a folder for each one.

Kim is not aware of my documentation because she chooses to ignore my communications to
her by not returning my phone calls, read or respond to my emails.

l know for sure that l do not run into Kim’s office because l am competent in my job functions
and do not have time to gossip.

Kim states under results that l need more training on “Bank Account l\/laintenance" l have never
been trained on that aspect, neither have l been asked to do it. This is the reason l asked Kim
the seven questions on my self assessment that she told she me will not respond to in writing
neither will she give me a copy if she of what she has drafted. l think this will help for me to
know where l stand instead of constant criticisms for four years. l asked her, if l am not
performing my duties, why am l still here, and she responded, l should have let you go along
time ago. l said OK, you done that in actions; it's just that you are now putting it in words.

To prove that l am submissive, when she asked me to explain ”What l mean by the Treasury
Team is not team oriented," l did respond in writing to show that l am honest and do have the
company at heart. Who then is usurping power?

14. l asked Kim why l was excluded from the team meeting she held on the October 12, 2008

15.

About10:30 or 11:00am, she responded l do not remember but never denied it. g/j§u“$l,“'“i \aw>
br

 

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Performance Appraisal Response as of 11/19/08

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Case 3:12-cv-00585

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CHAi`lb; iii b"u"u'RT WlLSON CO, TN

Document 1 Filed 06/07/12 Page 46 of 54 PagelD #: 109

Gloria A. Sesay

From:

Sent:

To:

Cc:

Subject:
Attachments:

lmportance:

Hi Kim,

boydtatl @wellsfargo.com

Wednesday, January 13, 2010 3:36 Pl\/l

Kim l\/l. Jones

Gloria A. Sesay

RE: Requesting 12/09 Statements- Direct General lnsurance
Statement 4.pdf; Statement 1.pdf; Statement 2.pdf; Statement 3.pdf

High

P|ease add Gloria as a user on CEO to view statementsl She has to request them from me monthly and this can become
costly. When statements are requested the charges is normally 10.00 per statement l have been waiving this for Gloria
but can not continue to do so. P|ease feel free to call me with question or for assistance.

Gloria~ See requested statements attached

Thank you,

Tanya Boyd

Sr. Commerciol Relotlonship Assoclote, CRE

Ph: 415-394-4430
FaX: 415-956-7238

Emalli bovdtatl@Wellsfargo.com

 

From: Gloria A. Sesay [mailto:Gloria.Sesay@directgeneral.com]
Sent: Wednesday, January 13, 2010 12:30 PM

To: Boyd, Tanya L.

Subject: RE: Requesting 12/09 Statements- Direct General Insurance

Can you please work me through?

From: boydtat|@wellsfargo.com [mailto:boydtatl@wellsfargo.com]
Sent: Wednesday, January 13, 2010 2:28 PM

To: Gloria A. Sesay

Subject: RE: Requesting 12/09 Statements- Direct General Insurance

Hi GlOrla,

| show that the accounts are all set up on CEO statements and Notices. ls there a reason why you are unable to pull

them?

Tanya

 

From: Gloria A. Sesay [mailto:Gloria.Sesay@directgeneral.com]
Sent: Wednesday, January 13, 2010 12:25 PM

To: Boyd, Tanya L.

Subject: Requesting 12/09 Statements- Direct General Insurance

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Acgmal Listing - Ceridian Time & Attendance tor mmberty Jones

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Accrual "Lis'tin'g'- Paid"Time Off for Gloria Sesay el
Operations: Refresh Listing

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/ 11/08/2008 sat ::':;:;rtt -21/92 -21.92 /

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08/30/2008 sat :Q;F;‘;? -41.92 -41.92
/, 08/02/2008 sat geng -51.25 -51.25

07/13/2003 Fri §:‘t‘§°ard -8.00, goss
07/05/2003 sat geng -52_58 -52.58
/07/03/2003 Thu §r"“tr;°ard -3.00 -61.93
07/02/2003 watt ;'n"t‘r‘;",°ard -8.00 -53.93
07/01/2008 Tue §rr"t‘§°afd -8.00 -45.93
06/30/2008 ivion §:“t§°a'd -8.00 -37.93
06/27/2003 Fri §r']‘t‘r‘;€ard -8.00 -29.93
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06/21/2003 sat 'F§';l;(;’tt -13.93 -13.93
06/16/2008 ivion §:“tr‘:lca'd -a.oo -13.93
06/07/2008 sat 'R"‘;:Y -s.ss -5.93
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Ac_crual Listt`ng - Ceridian Time & Attendance for Kimberly Jones Page 2 of 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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03/31/2008 wion ;‘rr:t‘§°afd -8.0`_0 -12.62 , 133 L_D»
03/29/2008 sat 'mp°" !4.62 462 *
Reset
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03/20/2008 Thu 'E"r:'t‘§°a'd ace -5.95 '
03/15/2008 sat :§"e§;'tt 2‘.05 2.05
03/01/2003 sat §§ng 2.05 205
02/16/2003 sat §§ _7.28 -7.28
02/02/2008 sat 'Fr{"‘;‘;'tt -7.28 -7.23
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01/05/2008 sat 'F;;l;:rtt ,{-/’J:eo :Ltz.eo

 

 

 

 

 

Operations: Refresh Listing

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Case 3:12-cv-00585 Document 1 Filed 06/07/12 Page 49 of 54 PagelD #: 112

 

 

TENNESSEE DEPART|V|ENT'OF LABOR AND WORKFORCE DEVELOP|VIENT

220 FRENCH LAND|NG DR|VE
NASHV`|LLE, TENNESSEE 37243-1002
WAGE TRANSCR|PT|ON AND lNlTlAL DETERIV||NATION

TH|S |S YOUR MONETARY DETERMINATlON. YOU CO.ULD BE lNEL|GlBLE FOR BENEF|TS DUE TO OTHER REASONS.

 

 

 

 

 

 

 

 

DATE LOCAL WEEKLY PROGRAM SOCIAL SECURITY
t DETERMINED OFFICE RET|R~ c°DE ACCOUNT NUMBER

DEDUCT
v 05/12/11 0408 000 1 xxx-xx-1735
GLORIA A SESAY DAE BASEPEmOD l%§§KWT
504 wILSON DRIVE FlLED MO Fll;:YM YR MD g:¥ YR MO DAY YR
MOUNT JU'-IET’ TN 57`122“2812 05/12/11 01'/01/10' 12'/31/1ti 05`/05/12`

 

 

 

 

YOU MAY EARN UP T0 $50.00 WITHOUT REDUCING YOUR WEEKLY BENEFIT AMT OF $190.
YUU WILL RECEIVE DEPENDENT ALLOWANCE OF $15.

 

 

 

 

 

 

 

 

 

s
QUARTERLY BASE PERlOD WAGES perROj.|<-JAI`JL\S,:GES , EMPLOYER'
PA,D BYEACH 7 EMPLovERs NAME NUMBER
1/2010 ~ 2/2010 3/2010 4/2010 E“’“’L°YER
6792.88 ` 3125.89 9918.77 DIRECT ADMINISTRATIDN' INC 0418 066
_ QvARtERLv toms EAt§i:tt°D “ttrattt~ rttttr ttt:_$ 1
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coMeiNED - oTi-iER sTATE(s)
u.c. FEDERAL EMPL`oYEEs
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REAsoN You ARE Not Ei_iciBLE FoR MoNETARY BENEFiTs
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lNFORMAT|ON CONTAINED |N YOUR UNEMPLOYMENT lNSURANCE

CRED|TS WAGE CRED|TS CLA|M FlLE MAY BE RELEASED TO OTHER GOVERNMENT AGENC|ES,

AS REQU|RED BY LAW.

000322

lF THE WAGES SHOWN ON TH|S TRANSCR|PT ARE NOT YOUR CORRECT BASE PER|OD WAGES OR lF YOU HAVE

lMPORTANT QUEST|ONS, CONTACT THE LOCAL LABOR AND WORKFORCE DEVELOPMENT OFF|CE.
- (SEE REVERSE SlD,E FOR WAGE PROTEST.`)

BE SURE YOU REPORT ALL OF YOUR EARN|NGS FOR EACH WEEK YOU CLA|M BENEFITS.

WARN|NG SEVERE PENALT|ES ARE PROV|DED FOR MAK|NG FALSE STATEMENTS OR FA|LURE TO DISCLOSE MATER|AL

FACTS TO OBTA|N OR lNCREASE BENEF|TS.
Pooat ` '

LB'°““R"-W""l Case 3:12-cv-00585 Document tLHiLmi\l®Gs/O:UEY Page 50 of 54 PagelD #: 113 ~ RDA "'A

 

TENNESSEE DEPART|V|ENT OF LABOR AND WORKFORCE DEVELOP|V|ENT
220 FRENCH LAND|NG DR|VE
` NASHVILLE, TENNESSEE 37243-1002
WAGE TRANSCR|PT|ON AND lNlTlAL DETERM|NATION

THlS lS YOUR MONETARY DETERM|NATION. YOU COULD BE lNEL|GlBLE FOR BENEF|TS DUE TO OTHER REASONS.

 

 

 

 

 

 

 

 

 

 

 

 

DATE LOCAL WEEKLY PROGRAM SOC|AL SECURITY
DETERM|NED OFF|CE DREEDTLIKR:-T cODE ACCOUNT NUMBER
_ 04/21/10 urine 000 1 xxx-xx-1735
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MOUNT JU'-IET»,TN 57122`2312 04/21/10 01`/01/09' 12/31/09' 04/16/11'
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YDU MAY EARN UP TU $68.75 WITHOUT REDUCING YOUR WEEKLV BENEFIT AMT OF $275.

 

 

 

 

 

 

 

 

 

 

 

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PA,D BY`EACH EMPLoYER s NAME NuMBER
1/2009 2/2009 3/2009 -4/2009 E""PL°YER
7373.01 7835.16 7156.33 8629.43 30993.93 DIREcT ADMINIsTRATIoN INC 0418 066
QuARTERLY ToTALS EA$§TZE§’°° “t’txa£§¥' XtZ§St¥T thf§_$ 1
7373 . 01 7835 . 16 7156 . 33 8629 . 43 30993 . 93 7150 . 00 275 26 TENN. uNEMPLoYMENT coiviPENsATloN
- CON|B|NED - OTHER STATE(S)
U.C. FEDERAL EMPLOYEES
U.C. EXSERV|CEPERSON

 

 

 

 

 

 

 

REASON Y°U ARE NOT E'-‘G‘BLE F°R MONETARY BENEF'TS lNFoRMATloN coNTAiNED lN YouR uNEMPLoYMENT leuRANcE
NO WAGE lNSUFF|C|ENT

CLA|M FlLE MAY BE RELEASED TO OTHER GOVERNMENT AGENCIES,
CREDlTS WAGE CREDlTS AS REQuIRED BY LAW 000304
lF THE WAGES SHOWN ON TH|S TRANSCRIPT ARE NOT YOUR CORRECT BASE PER|OD WAGES OR lF YOU HAVE
lMPORTANT QUEST|ONS, CONTACT THE LOCAL LABOR AND WORKFORCE DEVELOPMENT OFF|CE.
(SEE REVERSE SlDE FOR WAGE PROTEST.)

BE SURE YOU REPORT ALL OF YQUR EARN|NGS FOR EACH WEEK YOU CLA|M BENEF|TS.

WARNING SEVERE PENALTlES ARE PROV|DED FOR MAK|NG FALSE STATEMENTS OR FA|LURE TO DlSCLOSE MATER|AL
FACTS TO OBTAIN OR lNCREASE BENEF|TS.

ZPDOBt

LE-”4HS\REv-°9-"E) Case 3:12-cv-00585 Document bLHilm|®&;/Q:U&Q Page 51 of 54 PagelD #: 114 RDA"'A

BOARD OF REVIEW

Tennessee Department of Labor and Workforce Development

AVISO IMPORTANTE
Decision
10B3764BA
CLAIMANT EMPLOYER
GLORIA A SESAY DIRECT GENERAL lNSURANCE
504 WlLSON DRIVE ATTN: PERSONNEL
MOUNT JULIET TN 37122-0000 1281 MURFREESBORO RD

NASHVILLE TN 37217-0000

SS # XXX-XX-1735 ` ER # 0000000
Date of Mailing: December 07, 2010 BYE 04/16/2011 LO # 408
HISTORY OF THE CLAIM: This matter came before the Board of Review based upon a petition to

rehear or reconsider filed by the claimant on November 16, 2010. No hearing Was scheduled for the
Board of Review. Based upon the entire record in this matter, the Board of Revievv makes the following:

FINDINGS OF FACT AND CONCLUSIONS OF LAW: This case comes before the Board of Review on
a medical exception issue. Both claimant and employer have held throughout that this Was a discharge
The employer discharged the claimant for excessive absenteeism. The claimant has provided 2 doctor's
statements that indicate she Was under medical treatment and unable to Work When she filed her claim.
HoWever, under these circumstances that is an issue of Whether she Was able and available for Work.

DECISION: The petition to reconsider is granted lt is recommended that this case be remanded to the
Agency for a decision on the discharge If the claim is approved on that issue, the Agency must then
determine if and When the claimant Was able and available for Work. If the claimant is now released to
perform her former duties, she may be eligible to reopen her claim.

BOAR]) OF REVIEW
/s/May Lavender

/'s /Teresa McCadams

LM:ch/JS

LB-0956 101§§a§@§:12-cv-00585 Document 1 Filed 06/07/12_ Page 52 of 54 PagelD #: 115

By law [TCA § 50-7-3 04(h)], this decision Will become final in ten (10) days from the date of
mailing or on 12/17/2010.

Before this decision becomes final, you may file a Petition to Rehear. If your Petition is
mailed, the date of filing will be the postmark date, It should be mailed to Board of Review,

TN Dept of Labor and Workforce Development, 220 French Landing Dr., Nashville, TN

37243-1002 (Fax (615) 741-0290). Your Petition to Rehear should explain why you
Want the claim reheard, including a description of any new or additional evidence you wish
to offer.

The Board will consider only one Petition to Rehear by a party.
Once the Board's decision becomes fmal, you have thirty (3 0) days to file for judicial review
of this decision [TCA § 50-7-3 04(i)]. You may file a Petition for Judicial Review in the

Chancery Court of the county where you reside. If you reside outside the State of Tennessee,
the Petition. may be filed in Davidson County, Tennessee

T he Petitz`on must be filed against the Commissioner of Labor & Worlt_tforce Development and
the opposing party T he Peritz`onfor Jua’z'cial Review must be filed on or before 01/16/2011.

If` the last day for filing falls on a weekend or holiday, the deadline extends to the next
business day.

Eligibility depends upon filing weekly certifications, even during an appeal.

Este es un aviso importante relacionado con sus beneficios de desempleo.

Interested Parties':

LEGAL AID SOCIETY
ATTN: STEVEN CHRISTOPH
650 NORTH WATER ST
GALLATIN, TN 37066

cc: Claimant
Employer

LB_0956 loBGZKsBAB:12-cv-OO585 Document 1 Filed 06/07/12 Page 53 of 54 PagelD #: 116

U.S. Equal Employment Opportunity Commission
Memphis District Office 1407 Union Avenue
Suite 901
l\/lemphis, TN 38104
(901) 544-0119
(901) 544-0112 TTY
(901) 544-0111 FAX

 

iviay 24, 2012

Gloria A. Sesay
504 Wilson Drive
l\/lount Juliet, TN 37122

R_e: FOIA No.: 4902012161495
Gloria A. Sesay v. Direct General insurance Company
Charge No. 494-2010-01401

Dear l\/ls. Sesay:

Your request underthe Freedom of Information Act (FOlA), 5 U.S.C. § 552, received by the
l\/lemphis District Office on May 21, 2012 is assigned the above FOIA number. lt will be
processed by Rose Whee|er who can be reached at (901) 544-0135.

EEOC will issue a determination on your request on or before June 19, 2012. FO|A and EEOC
regulations provide 20 working days to issue a determination on a request, not including
Saturdays, Sundays and federal holidays. ln unusual circumstances EEOC may extend the 20
working days by 10 additional working days or stop processing your request until you respond to
our request for fee or clarifying information. Should EEOC take an extension or stop processing
your request, notice will be issued prior to the expiration of the 20 working days.

You may contact the Requester Service Center for status updates on your FOlA request or for
FOlA information by telephone to (202) 663-4500, by fax to (202) 663-4679, by e-mail to
FOlA@eeoc.gov, or by mail to the EEOC, Requester Service Centerl 131 lVl Street NE, Suite
5NW02E, Washington, DC 20507. Additionally, if you submitted your FO|A request on line, you

may monitor its status at https://egov.eeoc.gov/foia/.
Cordially,

MF//MM\

Katharine WKores
District Director
(901) 544-0151

Case 3:12-cv-OO585 Document 1 Filed 06/07/12 Page 54 of 54 PagelD #: 117

